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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                     Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Garland
 THIS DOCUMENT RELATES TO:
 Roane, et al. v. Garland, No. 05-2337


                SUPPLEMENT TO THE
 JOINT STATUS REPORT AND PROPOSED DISCOVERY PLAN

       On March 5, 2021, Plaintiffs and Defendants submitted a joint status report

containing a proposed schedule for discovery and detailing certain disputes between the

parties. ECF No. 414. In the proposed schedule, some deadlines were expressed as dates

certain and others were expressed as a particular amount of time running from the entry of

a scheduling order. The Court has not adopted or otherwise acted on that proposed

schedule.

       Given the passage of time since the joint submission, the parties have conferred and

hereby supplement their joint filing with the following revised proposed schedule for

discovery.

 (a) Deadline to Exchange Initial Disclosures              December 21, 2020

 (b) Defendants’ Answer to Eighth Amendment Claims         30 days from the date of entry
                                                           of a Scheduling Order

 (c) Deadline to Amend the Pleadings                       30 days from the date of filing
                                                           of Defendants’ Answer to the
                                                           Eighth Amendment Claims

 (d) Deadline to Join Additional Parties                   30 days from the date of filing
                                                           of Defendants’ Answer to the
                                                           Eighth Amendment Claims
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(e) Parties’ Rule 26(a)(2) Expert Disclosures              120 days from the date of
                                                           entry of a Scheduling Order

(f) Parties’ Rebuttal Expert Disclosures                   150 days from the date of
                                                           entry of a Scheduling Order

(g) End of Discovery                                       220 days from the date of
                                                           entry of a Scheduling Order

(h) Post Discovery Status Conference                       A date convenient to the
                                                           Court following the close of
                                                           discovery



Dated May 28, 2021

                                Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2021, I caused a true and correct copy of foregoing

to be served on all following counsel of record via the Court’s CM/ECF system.

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